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                              Attachment #1




                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OHIO
                            EASTERN DIVISION




                                              )   CASE NO.
                                              )
     Plaintiff,                               )
                                              )
v.                                            )   Judge John R. Adams
                                              )
                                              )   REPORT OF PARTIES' PLANNING
                                              )   MEETING UNDER FED. R. CIV.
     Defendant.                               )   P. 26(f) AND LR 16.3(b)(3)




     1.     Pursuant to Fed. R. Civ. P. 26(f) and LR 16:3(b)(3), a meeting was held on

      _________________ and was attended by:

                   counsel for plaintiff(s)

                   counsel for plaintiff(s)

                   counsel for defendant(s)

                   counsel for defendant(s)

     2.     The parties:

            have not been required to make initial disclosures.

            have exchanged the pre-discovery disclosures required by Fed. R. Civ. P.

            26(a)(1) and the Court's prior order.




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3.    The parties recommend the following track:

            Expedited                        Standard

      Administrative                 Complex

            Mass Tort




      4.    This case is suitable for one or more of the following Alternative Dispute

      Resolution ("ADR") mechanisms:

                     Early Neutral Evaluation

                     Mediation

                     Arbitration

                     Summary Jury Trial

                     Summary Bench Trial

                     Case not suitable for ADR




      5.    The parties      do/    do not consent to the jurisdiction of the United

      States Magistrate Judge pursuant to 28 U.S.C. § 636(c).




      6.    Recommended Discovery Plan:


      (a) Describe the subjects on which discovery is to be sought and the nature and

      extent of discovery.




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     (b) Discovery cut-off date:




     7.     Recommended dispositive motion date:




     8.     Recommended cut-off date for amending the pleadings and/or adding

     additional parties:




     9.     Recommended date for a Status Hearing:


     10.    Other matters for the attention of the Court:




                                   Attorney for Plaintiff(s)




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                             Attorney for Plaintiff(s)




                              Attorney for Defendant(s)



                              Attorney for Defendant(s)




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